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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SEKOU KWANE THOMPSON,                              Case No. 23-cv-05079-HSG
                                   8                    Plaintiff,                          ORDER SUA SPONTE GRANTING
                                                                                            EXTENSION OF TIME TO COMPLY
                                   9             v.                                         WITH GENERAL ORDER 76
                                  10     KATHLEEN ALLISON, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On October 4, 2023, the Court received a pro se civil rights complaint and other case-

                                  14   initiating documents from Plaintiff via postal mail. Dkt. No. 1. The Court informed Plaintiff that,

                                  15   pursuant to the Northern District of California’s General Order No. 76 (“GO 76”), prisoners

                                  16   within the custody of the California Department of Corrections and Rehabilitations (“CDCR”) are

                                  17   required to submit to the Court case-initiating documents for civil rights cases via electronic mail.

                                  18   Dkt. No. 1. The deadline to comply with GO 76 has passed, and Plaintiff has neither

                                  19   communicated with the Court nor complied with GO 76. In the interests of justice, the Court sua

                                  20   sponte GRANTS Plaintiff a second extension of time to May 17, 2024, to comply with GO 76’s

                                  21   electronic filing obligations. The Court has sent Plaintiff a courtesy copy of his complaint and in

                                  22   forma pauperis application under separate cover.

                                  23          IT IS SO ORDERED.

                                  24   Dated: 4/17/2024

                                  25                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  26                                                    United States District Judge
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